Case 2:20-cv-00176-LEW Document 13 Filed 05/25/20 Page 1 of 10                     PageID #: 147



                            UNITED STATES DISTRICT COURT
                              FOR THEDISTRICT OF MAINE


 BAYLEY’S CAMPGROUND, INC, d/b/a
 BAYLEY’S CAMPING RESORT, et al.,
        Plaintiff
                                                     CIVIL ACTION NO.: 2:20-cv-00176-LEW
                v.
 JANET MILLS, in her official capacity as the
 Governor of the State of Maine,
        Defendant.


                    DECLARATION OF NIRAV DINESH SHAH, M.D., J.D.

       I, Nirav Dinesh Shah, hereby declare as follows:

1.     My name is Nirav Dinesh Shah. I am the Director of the Maine Center for Disease Control

       and Prevention (“Maine CDC”).

2.     I hold a medical degree (MD) and a law degree (JD), both from The University of Chicago.

3.     I previously served as the Director of the Illinois Department of Public Health from January

       2015-February 2019.

4.     I have served as Director of the Maine CDC since June 2019.

5.     My professional experience includes having worked on the public health response to large,

       multi-country outbreaks.

6.     I previously worked for the National Institute for Public Health of the Ministry of Health

       for the country of Cambodia. There, I was part of a large team that managed the country

       of Cambodia’s response to the outbreak of Severe Acute Respiratory Syndrome (SARS) in

       2002.
Case 2:20-cv-00176-LEW Document 13 Filed 05/25/20 Page 2 of 10                     PageID #: 148



7.    I have also been part of epidemiological investigation teams that have responded to

      outbreaks of dengue fever, falciparum-resistant malaria, multi-drug-resistant tuberculosis,

      and HIV, among others.

8.    During my time as Director of the Illinois Department of Public Health, I led the State of

      Illinois’s response to large international outbreaks such as Zika virus, among others. I have

      also taught classes in mathematical epidemiology and public health at The University of

      Chicago Pritzker School of Medicine.

9.    The 2019 Novel Coronavirus (COVID-19) is a respiratory illness caused by a coronavirus,

      known as SARS-CoV-2. The COVID-19 outbreak was first identified in January 2020 in

      Wuhan City, China and has since spread to 188 countries.

10.   On January 31, 2020, the United States Department of Health and Human Services

      determined that as of January 27, 2020, the COVID-19 virus constituted a nationwide

      public health emergency. On March 11, 2020, the World Health Organization declared the

      COVID-19 virus to be a global pandemic.

11.   There are approximately 5.3 million confirmed cases of COVID-19 worldwide, with nearly

      one-third of those cases (approximately 1.6 million) in the United States. There have been

      approximately 345,000 deaths worldwide, and approximately 98,000 deaths in the United

      States.

12.   As of 11:00 a.m. on May 25, 2020, there have been 2,074 total confirmed cases of COVID-

      19 in Maine, including 78 deaths.

13.   The virus that causes COVID-19 appears to spread in similar ways to influenza and the

      common cold. This may include spreading through: 1) respiratory droplets produced when

      an infected person coughs, sneezes, or talks; 2) close personal contact, such as touching or



                                               2
Case 2:20-cv-00176-LEW Document 13 Filed 05/25/20 Page 3 of 10                     PageID #: 149



      shaking hands; and 3) touching an object or surface with the virus on it, then touching one’s

      mouth, nose, or eyes.

14.   The virus can travel up to 6 feet through the air, and can live on surfaces, such as copper,

      for up to 4 hours, and on cardboard for up to 24 hours.

15.   The COVID-19 virus has a long incubation period of up to 14 days and a person can be

      infected and spread the virus during that entire time period without noticing any symptoms.

16.   This possibility of what is known as “asymptomatic transmission” makes control of

      COVID-19 challenging, because individuals may transmit the disease before knowing they

      may have it.

17.   According to a recent analysis by the United States Centers for Disease Control and

      Prevention, approximately 40% of all COVID-19 transmission can occur while individuals

      are asymptomatic and approximately 35% of all COVID-19 patients do not have symptoms

      at all.

18.   The COVID-19 virus is spreading very easily and sustainably between people, and current

      information suggests that the virus is spreading more rapidly than influenza.

19.   There is currently no vaccine for COVID-19, and it may be at least one year before a

      vaccine can be developed, and even longer until when it will become widely available.

20.   Medical researchers have thus far only identified one drug efficacious in the treatment of

      COVID-19, remdesivir. That drug has not received full US Food & Drug Administration

      (FDA) approval; rather, it has received an Emergency Use Authorization. Remdesivir does

      not appear to reduce mortality in a statistically significant manner. It reduces the length of

      hospitalization for severely ill patients by approximately 4 days.




                                                3
Case 2:20-cv-00176-LEW Document 13 Filed 05/25/20 Page 4 of 10                     PageID #: 150



21.   Remdesivir is in very short supply and what supplies are available are distributed via the

      Federal government to states on a limited basis.

22.   In the absence of a vaccine or widespread treatment, the most effective method of

      controlling the virus is to practice “social distancing,” also referred to as “physical

      distancing.” The means keeping appropriate space between oneself and others.

23.   Beginning in early 2020, Maine CDC staff began preparing for the possibility that COVID-

      19 could spread from China to the United States and into Maine. Maine CDC staff and I

      consulted and conferred extensively with infectious disease and public health experts from

      across the country as part of our preparation.

24.   I have consulted closely with Maine’s Governor and members of her administration in

      developing strategies to slow the spread of the COVID-19 virus, avoid overwhelming our

      health care system, and protect the public health to the greatest extent possible during this

      unprecedented public health emergency.

25.   A critical strategy in combatting the COVID-19 virus is to slow its spread by limiting the

      extent to which persons come in contact with one another. Through a series of Executive

      Orders, the Governor has implemented this strategy by, among other things, restricting the

      operations of restaurants, retail stores, and other businesses, prohibiting gatherings of more

      than ten people, requiring residents to stay at home except to conduct certain specified

      activities, ending in-classroom instruction for public schools, and closing certain state

      parks. Collectively, these public health policies reduce the spread of COVID-19 across a

      population.

26.   Maine CDC has also worked to increase the surge capacity of the health care system to

      accommodate additional individuals with COVID-19 who require hospitalization.



                                                4
Case 2:20-cv-00176-LEW Document 13 Filed 05/25/20 Page 5 of 10                     PageID #: 151



27.   To further implement these strategies, the Governor, on April 3, issued Executive Order 34

      FY 19/20, “An Order Establishing Quarantine Restrictions on Travelers Arriving in

      Maine.” The Order requires all persons entering Maine, residents and non-residents alike,

      to immediately self-quarantine for 14 days, except for persons engaging in certain

      “essential services.”

28.   The Governor’s Office consulted with me in developing this Order, and I gave her advice

      based on all medical and scientific information that was then available regarding the

      COVID-19 virus. I continue to advise the Governor based on all medical and scientific

      information that becomes available regarding the COVID-19 virus.

29.   Fourteen days was selected as the quarantine period because fourteen days is understood

      to be the average incubation period for the COVID-19 virus. A person can be infected with

      the COVID-19 virus for up to fourteen days and not exhibit any symptoms. If a person is

      not exhibiting any symptoms fourteen days after entering the state, it is unlikely that he or

      she was infected with the virus at the time of entry.

30.   The quarantine requirement is intended to both reduce the spread of the COVID-19 virus

      in Maine and reduce and/or prevent an undue strain on Maine’s health care system.

31.   We were approaching the spring and summer seasons which, as discussed below, typically

      sees a massive influx of persons from other states—both temporary visitors and spring and

      summer residents. The quarantine requirement is intended to reduce the risk posed by such

      a large number of people entering Maine in a short period of time. It does this by ensuring

      that, before individuals who have entered the state come into contact with others, they

      quarantine and wait for symptoms to develop (if any). The absence of developing




                                                5
Case 2:20-cv-00176-LEW Document 13 Filed 05/25/20 Page 6 of 10                     PageID #: 152



      symptoms consistent with COVID-19 greatly reduces the likelihood that an individual has

      been infected with COVID-19.

32.   Moreover, at the time the quarantine requirement was issued, and continuing to this day,

      nearby states, including Massachusetts and New York, had much higher infection rates

      than Maine’s. Our concern was that people in those states would travel to Maine and

      unknowingly infect people here, thus further increasing the spread of the virus and the

      number of COVID-19 cases in Maine. Under that scenario, the capacity of Maine’s existing

      health care system to provide care for individual patients could potentially be exceeded.

33.   It was understood that the purpose of the quarantine requirement was not to keep COVID-

      19 out of Maine or eliminate its spread. Indeed, at the time the quarantine rule was

      implemented, the virus was already present in Maine. Further, there is an exception in the

      quarantine rule for persons coming into Maine to perform essential services, and we

      recognized that some of those people could be carrying the virus. Rather, the purpose of

      the quarantine requirement was to reduce additional introductions of the virus into Maine,

      limit new avenues of transmission, and slow the overall spread of the disease.

34.   We determined that the risk from the people who would be exempt from the quarantine

      rule because they were performing essential services was relatively small. On the other

      hand, the risk from the people who, in the absence of a quarantine rule, would enter the

      state (both temporary visitors and spring and summer residents) was significantly larger.

35.   It is my understanding, based on information provided by the Maine Department of

      Economic and Community Development, that there were more than 36.4 million out-of-

      state visits in 2019, with 22.1 million visits taking place in the summer.




                                                6
Case 2:20-cv-00176-LEW Document 13 Filed 05/25/20 Page 7 of 10                     PageID #: 153



36.   By contrast, Maine has a year-round population of just 1.3 million, and a health-care system

      designed to serve that population. Of note, Maine has only 391 critical care hospital beds,

      165 of which are currently available. Maine has a total of 318 conventional ventilators,

      242 of which are currently unused. And Maine has 439 alternative ventilators available.

      Alternative ventilators are breathing machines that may have otherwise been used in an

      operating room and now, because of COVID-19, may be used to provide life-sustaining

      ventilation to patients in intensive care units.

37.   The State of Maine is not attempting to prevent travel to Maine from persons currently out

      of state. Rather, our intent is to reduce the likelihood that any person who enters the state,

      whether a Maine resident or not, could potentially transmit COVID-19 to others. We

      minimize the risk from those persons by ensuring that the vast majority of persons who do

      enter the state do not interact in the community until it is more certain that they were not

      carrying the COVID-19 virus at the time of their arrival. Self-quarantine both controls the

      spread of the virus and reduces the possibility that Maine’s health care system will be over-

      taxed by a sudden flood of new cases.

38.   We carefully considered alternatives to the 14-day quarantine requirement. A requirement

      that people not enter the state if they are exhibiting symptoms consistent with COVID-19

      would not be effective because, as discussed above, individuals can be infected with the

      virus for up to 14 days before exhibiting symptoms.

39.   We also considered whether to prohibit only those persons who have been exposed to the

      COVID-19 virus or to prohibit only those who have been in close contact with infected

      individuals. But this approach is not scientifically sound. Simply stated, while a person

      might know that he was exposed, it would be virtually impossible for a person to know



                                                 7
Case 2:20-cv-00176-LEW Document 13 Filed 05/25/20 Page 8 of 10                          PageID #: 154



      definitively that he was not exposed. Individuals can be carriers and transmitters of

      COVID-19 long before they are symptomatic, so an individual can expose many people to

      the virus before he is aware that he is carrying it. In addition, a large percentage of

      transmission is thought to occur before an individual develops symptoms. Those the

      individual came in contact would have no way knowing of the potential exposure.

40.   At the time that we implemented the 14-day quarantine requirement, we were not confident

      that some sort of health screening would be effective. For example, a temperature reading

      could potentially be used to determine whether a person has the COVID-19 virus. But

      people can be asymptomatic for 14 days, and thus may not have an elevated temperature

      despite being infected. Also, people can have elevated temperatures for a host of reasons

      other than being infected with the COVID-19 virus, so using temperature readings would

      screen out many people who are not, in fact, carrying the virus.

41.   There are tests that can be used to detect the presence of the COVID-19 virus in an

      individual. At the time we imposed the 14-day quarantine requirement, however, there

      was an inadequate national supply of the test kits needed to perform that test. While the

      supply of test kits has been increasing, there are still not sufficient quantities to test all of

      the millions of persons seeking to enter the state. There are also laboratory tests that can

      look for the presence of antibodies, which signify a possible prior infection with COVID-

      19. However, there is significant scientific uncertainty about the accuracy of antibody-

      based tests, as well as questions about their interpretation. As the supply of test kits

      increases, and we obtain better information about the interpretation of antibody tests, we

      will continue to evaluate the use of the tests as a substitute for, or an addition to, the existing




                                                  8
Case 2:20-cv-00176-LEW Document 13 Filed 05/25/20 Page 9 of 10                      PageID #: 155



      quarantine requirement. For example, a shorter quarantine period might be acceptable

      depending on the supply of test kits and accuracy of testing results.

42.   In the future, it might be possible to exempt from the 14-day self-quarantine requirement

      those individuals who can document that they have already had, and recovered from,

      COVID-19. At the present time, however, the notion of such “immunity passports” is not

      scientifically sound or accepted. There continues to be significant scientific uncertainty

      about whether individuals who have previously been infected with COVID-19 develop

      sufficient immunity to prevent them from transmitting the virus.

43.   We recognize that there will be instances in which the 14-day quarantine rule might not be

      strictly or ultimately necessary. However, as a matter of public health policy, it is

      impossible to craft a rule that can account for every unique situation that might arise. Our

      goal was to develop a rule that would account for the vast majority of risk from travel into

      the state: the influx of risk from spring and summer visitors or other persons coming here

      from areas with higher infection rates or for recreational and tourism purposes.

44.   We are continuing to evaluate ways in which the 14-day quarantine requirement could be

      eased or eliminated, and it may well be that in the future we will be making appropriate

      modifications. At present, however, and erring on the side of caution, as is appropriate

      when confronting an unprecedented public health emergency like the COVID-19

      pandemic, the 14-day quarantine requirement is the best way to adequately protect the

      public health while still ensuring that certain essential services and operations can continue.

         I declare under penalty of perjury that the foregoing is true and correct.


Dated: May 25, 2020                                  /s/ Nirav Dinesh Shah______
                                                     Nirav Dinesh Shah, M.D., J.D.



                                                9
Case 2:20-cv-00176-LEW Document 13 Filed 05/25/20 Page 10 of 10                      PageID #: 156



                                CERTIFICATE OF SERVICE

       I hereby certify that on this, the 25th day of May, 2020, I electronically filed the above

document with the Clerk of Court using the CM/ECF system which will send notification of such

filing to the following:

GENE R. LIBBY
glibby@lokllc.com

KEITH P. RICHARD
krichard@lokllc.com

TYLER J. SMITH
tsmith@lokllc.com


                                                     /s/ Christopher C. Taub
                                                     CHRISTOPHER C. TAUB
                                                     Deputy Attorney General
                                                     Six State House Station
                                                     Augusta, Maine 04333-0006
                                                     Tel. (207) 626-8800
                                                     Fax (207) 287-3145




                                                10
